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17                    UNITED STATES DISTRICT COURT
18               FOR THE CENTRAL DISTRICT OF CALIFORNIA

19    STUDENTS AGAINST RACIAL
20    DISCRIMINATION,                            Case No. 8:25-cv-00192-JWH-JDE

21                Plaintiff,                     [Assigned to Hon. James W.
22    v.                                         Holcomb]
23    THE REGENTS OF THE                         NOTICE OF RELATED CASES
24    UNIVERSITY OF CALIFORNIA, et               (L.R. 83-1.3.1)
      al.,
25
26                Defendants.
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28                                           1
                                                       NOTICE OF RELATED CASES
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 1         Pursuant to Local Rule 83-1.3.1, Defendants submit this notice to identify
 2   this case for the Court as related to Do No Harm, et al. v. Regents of the University
 3   of California, et al., No. 2:25-cv-04131-MCS-JC (C.D. Cal.), currently pending
 4   before Judge Scarsi.
 5         The plaintiffs in Do No Harm submitted a notice of related cases on May 8,
 6   2025. See Do No Harm, No. 2:25-cv-04131-MCS-JC, Dkt. 2. On June 4, 2025,
 7   this Court declined to transfer Do No Harm, finding that it was “not sufficiently
 8   related [to this case] to warrant transfer.” Do No Harm, No. 2:25-cv-04131-MCS-
 9   JC, Dkt. 32.
10         After that declination, on June 10, 2025, Plaintiff filed a First Amended
11   Complaint (“FAC”) in this case. See Dkt. 26. The new allegations in the FAC
12   warrant an order relating Do No Harm to this case and transferring Do No Harm to
13   proceed before this Court.1 In particular, the FAC now alleges racial
14   discrimination in admissions at six University of California medical schools. See
15   id. ¶¶ 3, 32-35, 52-53, 58, 60. Those schools include the David Geffen School of
16   Medicine at UCLA, see id. ¶¶ 34-35, 52, which is the medical school at issue in Do
17   No Harm, see, e.g., Do No Harm, No. 2:25-cv-04131-MCS-JC, Dkt. 1 ¶¶ 1, 7-10,
18   30-48, 53-110. The FAC, like the Complaint in Do No Harm, alleges that UCLA’s
19   medical school and its Associate Dean of Admissions discriminate against white
20   and Asian applicants in favor of black applicants. Compare Dkt. 26 ¶ 34, with,
21   e.g., Do No Harm, No. 2:25-cv-04131-MCS-JC, Dkt. 1 ¶¶ 7, 9, 62, 131. Indeed,
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             Under Local Rule 83-1.3.4, attorneys have a “continuing duty … in any
     case to file a Notice of Related Cases” as required by the Local Rules. L.R. 83-
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     1.3.4.
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                                                        NOTICE OF RELATED CASES
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 1   the FAC in this case purports to incorporate in full the plaintiffs’ Complaint in Do
 2   No Harm. See Dkt. 26 ¶ 34. 2
 3         Given these additions to the FAC, Do No Harm is now sufficiently related to
 4   this case to warrant transfer under any of the three factors that govern relatedness
 5   under the Local Rules. First, both cases “arise from the same or a closely related
 6   transaction, happening, or event,” L.R. 83-1.3.1(a)—i.e., alleged racial
 7   discrimination by UCLA’s medical school and its Associate Dean of Admissions
 8   in admissions practices and policies. Second, both cases “call for determination of
 9   the same or substantially related or similar questions of law and fact,” L.R. 83-
10   1.3.1(b)—i.e., whether the Regents and individuals associated with UCLA’s
11   medical school, including the Chancellor of UCLA, are liable under Title VI, 42
12   U.S.C. § 1981, and/or the Equal Protection Clause for racial discrimination
13   allegedly committed by UCLA’s medical school and its Associate Dean of
14   Admissions. And third, for these reasons, these cases “would entail substantial
15   duplication of labor if heard by different judges.” L.R. 83-1.3.1(c).
16         Under the Local Rules, cases are related even when they satisfy only one of
17   these factors. See L.R. 83-1.3.1 (“It shall be the responsibility of the parties to
18   promptly file a Notice of Related Cases whenever two or more civil cases filed in
19   this District: (a) arise from the same or a closely related transaction, happening, or
20   event; (b) call for determination of the same or substantially related or similar
21   questions of law and fact; or (c) for other reasons would entail substantial
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              Defendants include the foregoing allegations solely for the purpose of
     establishing that SARD and Do No Harm are related and in no way concede the
26   truth of such allegations. Defendants reserve the right to move to dismiss both
27   complaints in their entirety, and to strike or otherwise object to the allegations
     therein.
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                                                          NOTICE OF RELATED CASES
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 1   duplication of labor if heard by different judges.” (emphasis added)). Here, Do No
 2   Harm and this case are related under all three factors.
 3
 4    Dated: June 20, 2025                    Respectfully submitted,
 5                                             /s/ Felicia Ellsworth
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